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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,
                                                      Criminal No. 21-cr-378
         v.
                                                      MOTION FOR MODIFICATION OF
                                                      TERMS AND CONDITIONS OF PRETRIAL
 PAUL C. RAE,
                                                      RELEASE
                        Defendant.


       COMES NOW, Paul C. Rae, by and through his counsel, John M. Pierce, and moves this

Court to modify Mr. Rae’s conditions of release to allow him to travel from his residence, in

Seminole, Florida to Las Vegas, Nevada from October 13, 2022, through October 19, 2022.


                                 SUGGESTIONS IN SUPPORT

       1.       On December 1, 2022, a grand jury indicted the defendant on six counts, charging

him with crimes associated with the events at the Capitol building on January 6th.

       2.       Since Mr. Rae was placed on bond immediately following his initial appearance,

Pretrial Service has monitored him. He remains employed in the Seminole area.

       3.       Pretrial Services Officer Jacob Ely was contacted regarding the request to travel

and Mr. Rae’s counsel does not believe there is an objection to the travel request, but Mr. Ely

advised that Mr. Rae’s counsel should file a motion.

       4.       Undersigned counsel has contacted AUSA’s Jennifer Rozzoni and Nadia Moore

via email but has received no reply as of the time of this filing.

       5.       Mr. Rae would leave his residence on October 13, 2022, to attend a wedding at

the JW Marriott Las Vegas Resort and Spa, 221 N. Rampart Blvd., Las Vegas, Nevada. Mr. Rae

would return to his place of residence on October 19, 2022. Mr. Rae has provided undersigned
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counsel confirmation of the event as well as confirmed flight arrangements and counsel will

provide these documents to Pretrial Services if the Court grants this request.

          6.       Mr. Rae will comply with any additional conditions Pretrial Services might want

to place on him while away from the Seminole area.

          7.       Mr. Rae has appeared in-person or by phone at all court appearances. He has

maintained contact with undersigned counsel throughout the litigation and has been responsive to

Pretrial Services.

          WHEREFORE, Defendant Rae respectfully requests this Court to modify his conditions

of release to allow him to travel from Seminole, Florida, to Las Vegas, Nevada, on October 13,

2022 and returning on October 19, 2022 or for whatever other relief this court deems just and

proper.



Annexed to this motion is the proposed form of order.




Dated: September 7, 2022                        Respectfully submitted,


                                                /s/ John M. Pierce
                                                John Mark Pierce
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                                                Attorneys for Defendant Paul Rae




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                                 CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on September 7, 2022, I caused a true and correct

copy of the foregoing to be filed via the Court’s electronic filing system, which constitutes service

upon all counsel of record.

                                                      /s/ John M. Pierce
                                                      John M. Pierce
